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 1                                  UNITED STATES DISTRICT COURT
 2                                          DISTRICT OF NEVADA
 3                                                     ***
 4      UNITED STATES OF AMERICA,                             Case No. 2:11-CR-00334-APG-GWF
 5                             Plaintiff,
                                                              ORDER RESCHEDULING
 6             v.                                             SENTENCING HEARING AND
                                                              ORDERING BRIEFING ON CAREER
 7      TRACEY BROWN,                                         OFFENDER STATUS
 8                             Defendant.
 9

10             In his sentencing memorandum, defendant Tracey Brown argues that his current offense is

11     not a crime of violence. ECF No. 259. He also argues he does not have two prior felony

12     convictions for a crime of violence. Id. He thus contends he does not qualify as a career offender

13     as calculated in the presentence report. The government’s sentencing memorandum does not

14     address whether the offense of conviction or the predicate offenses qualify as crimes of violence

15     under U.S.S.G. § 4B1.2. ECF No. 260. I therefore will reschedule the sentencing hearing and

16     direct the parties to further brief the issue of whether Brown qualifies as a career offender.

17             IT IS THEREFORE ORDERED that the sentencing hearing currently set for July 21,

18     2016 at 10:00 a.m. is RESCHEDULED to August 11, 2016 at 9:00 a.m.

19             IT IS FURTHER ORDERED that the United States shall file a response brief to Brown’s

20     sentencing memorandum regarding whether he qualifies as a career offender on or before July 29,

21     2016.

22             IT IS FURTHER ORDERED that defendant Tracey Brown shall file a reply on or before

23     August 8, 2016.

24             DATED this 19th day of July, 2016.

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26                                                           ANDREW P. GORDON
                                                             UNITED STATES DISTRICT JUDGE
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